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FILED

IN OPEN COURT
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA “ 6
Norfolk Division FEB 16 2004

WILLIAM D. FOWLER, CLERK, U.S. DISTRICT COURT
NORFOLK, VA

Plaintiff,
a Case No. 2:22-cv-504
KENNETH W. STOLLE,

Defendant.

VERDICT FORM

1. Was Defendant Stolle’s decision not to reappoint Plaintiff Fowler “under color” of state
law?

Answer Yes or No: ]

If your answer is no, stop. If your answer is yes, continue to the next set of questions.

COUNT ONE

2. Did Plaintiff Fowler prove that he engaged in association protected by the First
Amendment to the Constitution?

Answer Yes or No: f

If your answer is no, stop. If your answer is yes, continue to the next question.

3. Did Plaintiff Fowler prove that his protected association was a substantial or motivating
factor in Defendant Stolle’s decision not to reappoint him?

Answer Yes or No: 7

If your answer is no, stop. If your answer is yes, continue to the next question.
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4, Did Defendant Stolle prove that he would have discharged Plaintiff Fowler from his
employment even if Defendant Stolle had not taken Plaintiff Fowler’s protected
association into account?

Answer Yes or No: N

If your answer is yes, stop. If your answer is no, continue to the next question.

5. Did Defendant Stolle prove that he was permitted to discharge Plaintiff Fowler on the
basis of his protected association because Plaintiff Fowler held a policymaking position?

Answer Yes or No: KJ

If your answer is yes, stop. If your answer is no, continue to the next question.

6. Was Defendant Stolle’s decision not to reappoint Plaintiff Fowler the proximate cause of
damages Plaintiff Fowler suffered?

Answer Yes or No:

If your answer is no, stop. If your answer is yes, continue to the next question.

7. What amount of money do you award to Plaintiff Fowler in compensatory damages for
Defendant Stolle’s violation of his constitutional right to protected association?

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If you did not award compensatory damages on Count One, stop. If you awarded compensatory
damages, continue to the next question.

8. Do you find that punitive damages should be assessed against Defendant Stolle for his
violation of Plaintiff Fowler’s constitutional right to protected association?

Answer Yes or No: J
If you answer is no, stop. If your answer is yes, continue to the next question.

9, What amount of money do you award to Plaintiff Fowler in punitive damages for
Defendant Stolle’s violation of his constitutional right to protected association?
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COUNT THREE

If your verdict on Count Two was for Plaintiff Fowler (that is, if you answered “Yes” to
Question 6 above), then your answer to Question 10 will be “Yes.” If your verdict on Count Two
was for Defendant Stolle (that is, if you answered “No” to Question 6 above, or if you did not
reach Question 6 because you answered “No” to an earlier question), then your answer to
Question 10 will be “No.”

10. Did Defendant Stolle violate Plaintiff Fowler’s right to association under the Virginia
Constitution?

Answer Yes or No: |
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COUNT TWO

11. Did Plaintiff Fowler engage in speech protected by the First Amendment to the
Constitution?

Answer Yes or No: J

If your answer is no, stop. If your answer is yes, continue to the next question.

12. Was Plaintiff Fowler’s protected speech a substantial or motivating factor in Defendant
Stolle’s decision not to reappoint Plaintiff Fowler?

Answer Yes or No:

If your answer is no, stop. If your answer is yes, continue to the next question.

13. Did Defendant Stolle prove that he would have discharged Plaintiff Fowler from his
employment even if Defendant Stolle had not taken Plaintiff Fowler’s protected speech
into account?

Answer Yes or No:

If your answer is yes, stop. If your answer is no, continue to the next question.

14. Did Defendant Stolle prove that he was permitted to discharge Plaintiff Fowler on the
basis of his protected speech because Plaintiff Fowler held a policymaking position?

Answer Yes or No:
If your answer is yes, stop. If your answer is no, continue to the next question.

15. Was Defendant Stolle’s decision not to reappoint Plaintiff Fowler the proximate cause of
damages Plaintiff Fowler suffered?

Answer Yes or No:

If your answer is no, stop. If your answer is yes, continue to the next question.

16. What amount of money do you award to Plaintiff Fowler in compensatory damages for
Defendant Stolle’s violation of his constitutional right to free speech?
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If you did not award compensatory damages on Count Two, stop. If you awarded compensatory
damages, continue to the next question.

17. Do you find that punitive damages should be assessed against Defendant Stolle for his
violation of Plaintiff Fowler’s constitutional right to free speech?

Answer Yes or No:
If your answer is no, stop. If your answer is yes, continue to the next question.

18. What amount of money do you award to Plaintiff Fowler in punitive damages for
Defendant Stolle’s violation of his constitutional right to free speech?
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Pursuant to the E-Government Act,
the original of this page has been filed
under seal in the Clerk's Office.

COUNT FOUR

If your verdict on Count Two was for Plaintiff Fowler (that is, if you answered “Yes” to
Question 15 above), then your answer to Question 19 will be “Yes.” If your verdict on Count
Two was for Defendant Stolle (that is, if you answered “No” to Question 15 above, or if you did

not reach Question 15 because you answered “No” to an earlier question), then your answer to
Question 19 will be “No.”

19. Did Defendant Stolle violate Plaintiff Fowler’s right to free speech under the Virginia
Constitution?

Answer Yes or No: WU

SO SAY WE ALL.

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ae : 7
Foreperson's Signature Date
